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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION


 Sonja Eddings Brown,                       Case No. 2:24-cv-00369-JLB-NPM

       Plaintiff,                           REDACTED FIRST
                                            AMENDED COMPLAINT
 V.

 Parker J. Collier,
                                            JURY TRIAL DEMANDED
       Defendant.


      Plaintiff Sonja Eddings Brown ("Plaintiff' or "Brown"), by and through

undersigned counsel, brings the above-captioned action against Defendant Parker

J. Collier ("Defendant" or "Mrs. Collier"), and alleges as follows:

                          NATURE OF THE CASE




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      11.    Defendant Parker Collier is an individual and resident of Florida.

      12.    This Court has jurisdiction over the above-captioned action pursuant

to 28 U.S.C. § 1332(a)(1), in that this is a civil action between citizens of different

states, and the amount in controversy exceeds $75,000.00, exclusive of interest

and costs.

      13.    This Court has personal jurisdiction over Defendant pursuant to

Federal Rule of Civil Procedure 4(k)(1)(A), because she is a Florida resident and

therefore subject to the jurisdiction of a court of general jurisdiction within the

State of Florida.

      14.    Venue is proper in the Middle District of Florida pursuant to 28 U.S.C.

§ 1391(b)(2), because a substantial part of the events giving rise to this action

occurred within this District.

                           FACTUAL BACKGROUND

                    Parker Collier and the Collier Family

      15.    For much of the 20th century, Barron Gift Collier I and his family were

the largest private landowners in Florida. In fact, in 1923, the Florida Legislature

named Collier County after Barron Collier I.

      16.    In 1976, Barron Collier I’s grandchildren split up his company and

grandsons Miles Collier and Barron Collier II founded Collier Enterprises, Inc.

(“Collier Enterprises” or “Company”). Throughout the years, the Company

not only continued to own large swaths of land in Southwest Florida, but it also



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                             JURY TRIAL DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff respectfully

 demands a trial by jury of any issues so triable.



  Dated: June 25, 2024              /s/ Olga M. Vieira

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